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                              IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

VALENTIN HERNANDEZ,                              §
                                                 §
                 Plaintiff,                      §
v.                                               §    Civil Action No. 3:15-CV-4016-L
                                                 §
SAFECO INSURANCE COMPANY OF                      §
INDIANA AND TIMOTHY DOW                          §
CRAWFORD,                                        §
                                                 §
                 Defendants.                     §

                                             ORDER

       Before the court is Plaintiff’s Motion to Remand (Doc. 6), filed February 16, 2016; and

Defendant Timothy Dow Crawford’s Motion to Dismiss Under Federal Rule of Civil Procedure

12(b)(6) (“Motion to Dismiss”) (Doc. 5), filed February 2, 2016. On June 27, 2016, Magistrate

Judge Paul D. Stickney entered the Findings, Conclusions and Recommendation of the United States

Magistrate Judge (“Report”), recommending that Plaintiff’s Motion to Remand be denied because

Defendant Timothy Dow Crawford (“Crawford”) was improperly joined as a defendant in this case,

and his citizenship, therefore, should not be considered in the court’s jurisdictional analysis. The

magistrate judge’s determination in this regard is based on the conclusion that Plaintiff’s claims

against Crawford for violations of the Texas Deceptive Trade Practices Act (“DTPA”) and Texas

Insurance Code fail as a matter of law. No objections to the Report were filed.

       Having reviewed Plaintiff’s Motion to Remand, response, pleadings, file, record in this case,

applicable law, and Report, the court determines that the findings and conclusions of the magistrate

judge are correct, and accepts them as those of the court. Accordingly, the court denies Plaintiff’s

Motion to Remand (Doc. 6). Further, for the reasons set forth in the Report, which includes the legal


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standard applicable to Rule 12(b)(6) motions, the court determines that Plaintiff has failed to state

claims for relief under the DTPA and Texas Insurance Code against Crawford, and Crawford’s

Motion to Dismiss should be granted.* Accordingly, to avoid further delay, the court vacates the

order of reference with respect to Crawford’s Motion to Dismiss, grants Defendant Timothy Dow

Crawford’s Motion to Dismiss Under Federal Rule of Civil Procedure 12(b)(6) (Doc. 5), and

dismisses with prejudice Plaintiff’s claims under the DTPA and Texas Insurance Code against

Crawford. Pursuant to Federal Rule of Civil Procedure 54(b), the court expressly determines that

there is no just reason to delay the entry of final judgment in this case as to Defendant Timothy Dow

Crawford and directs the clerk of the court to enter a final judgment as to him.

         It is so ordered this 9th day of August, 2016.


                                                                 _________________________________
                                                                 Sam A. Lindsay
                                                                 United States District Judge




         *
          Although Plaintiff filed a First Amended Complaint (“Amended Complaint”) after Crawford moved to dismiss
the claims against him, and Plaintiff contends in response to the motion to dismiss that the Amended Complaint cures
“any and all defects complained of by [Crawford],” Pl.’s Resp. 1, the court agrees with Crawford’s reply and the
magistrate judge’s determination that Plaintiff’s claims against Crawford fail as a matter of law. Thus, even taking into
consideration Plaintiff’s amended pleadings, the amendment is futile and does save Plaintiff’s claims against Crawford
for alleged violations of the DTPA and Texas Insurance Code. Moreover, allowing Plaintiff a further opportunity to
amend unnecessarily delays resolution of this action with respect to Crawford.

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